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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



    STATE OF FLORIDA,

          Plaintiff,

    v.                                                 CASE NO. 8:21-cv-839-SDM-AAS

    XAVIER BECERRA, et al.,

          Defendants.
    __________________________________/


                          ORDER AND NOTICE OF HEARING

          The defendants move (Doc. 67) to submit a supplemental memorandum “[i]n

    light of recent developments.” Specifically, the defendants argue that Congress

    recently ratified the conditional sailing order and that “cruising is set to resume as

    planned.” (Doc. 67 at 3) Partially opposing (Doc. 69) supplemental briefing, the

    plaintiff argues (1) that Congress “decided not to ratify the CDC’s conduct as to

    Florida,” (2) that recent case law gravitates against the conclusion that Congress

    ratified the conditional sailing order, (3) that the defendants’ understanding of

    ratification creates non-delegation issues, and (4) that a supplemental brief might

    delay resolution of this action.

          Because the defendants’ requested briefing is narrow in scope and compact,

    the defendants’ motion (Doc. 67) is GRANTED. No later than noon on

    JUNE 7, 2021, the defendants may submit a supplemental memorandum not
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    exceeding five pages and addressing only those issues specified in the defendants’

    motion. No later than JUNE 9, 2021, the plaintiff may respond in a paper not

    exceeding five pages.

          A hearing will occur at 10:00 A.M. ON JUNE 10, 2021, IN COURTROOM

    15A to review issues addressed incompletely in the earlier hearing, to evaluate the

    supplemental record and the consequent briefs, and any other matter pertaining to

    the motion for preliminary injunction and its resolution. At least lawyers Percival,

    Hilborn, and Powell must attend in person.

          ORDERED in Tampa, Florida, on June 4, 2021.




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